 Case 10-36159-NLW              Doc 24 Filed 12/05/10 Entered 12/06/10 00:37:47                       Desc Imaged
                                    Certificate of Service Page 1 of 2
Form clsnodsc − ntcclsnodis

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                     Case No.: 10−36159−NLW
                                     Chapter: 7
                                     Judge: Novalyn L. Winfield

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Henry Bell
   266 Linden Ave
   Jersey City, NJ 07305
Social Security No.:
   xxx−xx−5842
Employer's Tax I.D. No.:


                              NOTICE OF DEFICIENCY CONCERNING DISCHARGE

      You are hereby notified that the above−named case will be closed without entry of discharge on or after
January 3, 2011 for the reason(s) indicated below.
        Debtor has not filed a Debtor's Certification of Completion of Instructional Course Concerning
       Financial Management (Official Form B23) proving compliance with the instructional course
       requirement for discharge.

        Joint debtor has not filed a Debtor's Certification of Completion of Instructional Course Concerning
        Financial Management(Official Form B23) proving compliance with the instructional course
       requirement for discharge.

       Debtor has not filed a Certification in Support of Discharge certifying that all domestic support obligations
       due have been paid.

       Joint debtor has not filed a Certification in Support of Discharge certifying that all domestic support
       obligations due have been paid.



The court must receive the above noted document(s) prior to case closing in order to enter a discharge. If the case is
closed without entry of the discharge the debtor must file a Motion To Reopen to allow for the filing of same and pay
the applicable filing fee.




Dated: December 3, 2010
JJW: ccg

                                                                       James J. Waldron
                                                                       Clerk
       Case 10-36159-NLW                Doc 24 Filed 12/05/10 Entered 12/06/10 00:37:47                               Desc Imaged
                                            Certificate of Service Page 2 of 2
                                CERTIFICATE OF NOTICE
 District/off: 0312-2                  User: cgingere                     Page 1 of 1                          Date Rcvd: Dec 03, 2010
 Case: 10-36159                        Form ID: clsnodsc                  Total Noticed: 3

 The following entities were noticed by first class mail on Dec 05, 2010.
 db           +Henry Bell,    266 Linden Ave,   Jersey City, NJ 07305-1912
 smg           U.S. Attorney,    970 Broad St.,   Room 502,   Rodino Federal Bldg.,   Newark, NJ 07102-2534
 smg          +United States Trustee,    Office of the United States Trustee,   One Newark Center,  Suite 2100,
                Newark, NJ 07102-5235
 The following entities were noticed by electronic transmission.
 NONE.                                                                                                               TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Dec 05, 2010                                       Signature:
